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11

12                                   UNITED STATES DISTRICT COURT
13                               NORTHERN DISTRICT OF CALIFORNIA
14                                          SAN JOSE DIVISION
15

16   APPLE INC., a California corporation,                    Case No. 11-cv-01846-LHK (PSG)
17                      Plaintiff,                            APPLE INC.’S REPLY IN SUPPORT
                                                              OF ITS MOTION TO COMPEL
18          v.                                                DOCUMENTS FOR WHICH WAIVER
                                                              WAS PREVIOUSLY FOUND
19   SAMSUNG ELECTRONICS CO., LTD., a
     Korean corporation; SAMSUNG ELECTRONICS                  Judge:     Hon. Paul S. Grewal
20   AMERICA, INC., a New York corporation; and               Date:      December 10, 2014
     SAMSUNG TELECOMMUNICATIONS                               Courtroom: 5, 4th Floor
21   AMERICA, LLC, a Delaware limited liability
     company,
22
                        Defendants.
23

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     APPLE INC.’S REPLY IN SUPPORT OF ITS MOTION TO COMPEL
     Case No. 11-cv-01846-LHK (PSG)
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 1   I.     INTRODUCTION
 2          In its opening brief, Apple explained in detail why Samsung cannot properly assert

 3   privilege over, and should be required to produce, the seven Waiver Documents that the Court

 4   previously reviewed in camera—because Samsung has not established that the documents are

 5   privileged in the first instance, because Samsung has waived any potential claim of privilege

 6   through its affirmative and selective use of the documents, and because the crime-fraud exception

 7   precludes Samsung from using privilege to shield the documents that reveal its hundreds of

 8   protective order violations. None of the arguments set forth in Samsung’s opposition brief

 9   changes that result.

10          First, unable to prevail on the merits, Samsung argues that Apple is procedurally barred

11   on waiver grounds from raising the arguments set forth in its motion. But Apple indisputably

12   raised all of those arguments during the original sanctions proceedings, and Judge Koh expressly

13   ordered the Court to consider and address those same arguments in this remand proceeding. As

14   such, there is no basis to find waiver.

15          Second, Samsung contends that it met its burden to establish a valid privilege claim over

16   each of the Waiver Documents based on disclosures contained in its privilege log and fact

17   declarations that it submitted during the sanctions proceedings. But the Court found during the

18   sanctions proceedings that Samsung’s log was insufficient to establish privilege—a conclusion

19   reinforced by Samsung’s continuing failure to demonstrate that each employee recipient listed in

20   the log was “directly concerned with” or had “primary responsibility for the subject matter of the

21   communication.” In addition, Samsung’s declaration-based arguments only address one of the

22   seven Waiver Documents (Tab 6), and even then, the declarations merely contain generic

23   assertions that the document at Tab 6 was relevant to unspecified “aspects of the global Apple

24   litigations”—even though the Protective Order did not permit Samsung to provide confidential

25   information produced in this case for use in other litigations.

26          Third, Samsung argues that it did not waive any right to assert privilege over the Waiver

27   Documents because its declarations supposedly did not disclose the substance of the withheld

28   documents, and instead merely asserted that no such communications were reflected in the
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 1   documents. But the declarations themselves do reveal a selective and partial disclosure of those

 2   supposedly privileged communications—by representing what the parties did not discuss. Courts

 3   have found waiver in precisely those circumstances. Samsung also seeks to shift blame for its

 4   waiver by arguing that the Court compelled Samsung to file the declarations. But the record

 5   reveals that Samsung had no obligation to submit those declarations, and certainly no obligation

 6   to use the declarations to discuss the content of withheld documents.

 7          Finally, Samsung contends for the first time that the Court should vacate the Sanctions

 8   Order in its entirety because that decision relied on information derived from documents that

 9   Samsung has withheld as privileged. That new argument is waived. It also fails on the merits
10   because Samsung has not established that the documents are privileged, because the Sanctions
11   Order relies on other information that the Court found was not privileged (and Samsung did not
12   seek review of those findings of no privilege), and because courts can properly rely on the
13   substance of privileged communications reviewed in camera in any event.
14          Therefore, the Court should order Samsung to produce the Waiver Documents.
15   II.    ARGUMENT
16          A.      Apple Did Not Waive The Arguments At Issue In This Motion.
17          Samsung contends that Apple waived the right to contest on remand whether the Waiver
18   Documents are privileged. (Dkt. 3214-3 (“Opp’n”) at 6.) But during the sanctions proceedings,
19   Apple raised all the same arguments set forth in its opening brief in support of this motion—as
20   Judge Koh explicitly found. (Dkt. 3194 at 9 n.6 (Judge Koh finding that Apple’s arguments
21   regarding the Waiver Documents “have all been previously presented”); Dkts. 2505-1, 2557-4,
22   2825-2 (Apple briefs advancing the arguments).) Nor is there any dispute that those previously-
23   raised arguments are all properly before the Court in this remand proceeding—given Judge Koh’s
24   express instructions for the Court to consider “Apple’s and Nokia’s alternative arguments” on
25   remand and to “rule on any remaining privilege issues in the first instance.” (Dkt. 3194 at 9-10;
26   id. at 10 (“Whether Samsung waived or is otherwise not entitled to assert privilege over those
27   documents for any other reason remains to be decided by Judge Grewal upon remand.” (emphasis
28
     APPLE INC.’S REPLY IN SUPPORT OF ITS MOTION TO COMPEL
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 1   added)).)1

 2            Accordingly, because Apple timely raised its arguments about the Waiver Documents, and

 3   because Judge Koh has required the Court to address those arguments in this remand proceeding,

 4   Samsung has no legitimate basis to allege waiver.2

 5            B.     Samsung Has Failed To Meet Its Burden To Demonstrate That The Waiver
                     Documents Are Privileged.
 6
              In its opening brief, Apple demonstrated that Samsung has failed to meet its burden to
 7
     demonstrate that the Waiver Documents are even privileged, including because Samsung has
 8
     failed to establish that each recipient of the Waiver Documents fell within the scope of a proper
 9
     privilege claim. (Dkt. 3212 (“Mot.”) at 3.)
10
              In response, Samsung contends that its privilege log alone “establishes that the documents
11
     are protected by privilege and the work-product doctrine.” (Opp’n at 8.) But the Court already
12
     rejected that argument during the original sanctions proceedings, noting it was “unpersuaded that
13
     the generic statements in the log meet the burden required to claim [privilege and work product
14
     protection].” (Dkt. 2689 at 4 n.16 (“Specifically, many if not all of these documents do not
15
     appear aimed at or in furtherance of legal counsel, but rather a simple business purpose would
16
     1
17     That clear mandate alone defeats Samsung’s claim that Apple supposedly waived its arguments
     by not filing its own motion seeking relief from the Sanctions Order, and “instead, [by] rais[ing]
18   these arguments to the presiding judge only in opposition to Samsung’s motion for relief from the
     Sanctions Order.” (Opp’n at 6.) Samsung also fails to explain why Apple supposedly needed to
19   file such a motion given that the Court found waiver with respect to the same Waiver Documents
     at issue here (on a ground that Apple had not advanced). By contrast, in Samsung’s sole cited
20   case on this issue, the Ninth Circuit found that an employee waived his right to seek appellate
     review of an adverse order issued against him because he did not provide proper notice under
21   Fed. R. Civ. P. 72(a). See Simpson v. Lear Astronics Corp., 77 F.3d 1170, 1174 (9th Cir. 1996).
     Here, Apple prevailed on its sanctions motion, and it was Samsung that sought review.
22   2
       Samsung separately contends that Apple waived its crime-fraud argument by failing to argue in
     its prior briefing “that the communications at issue furthered a criminal or fraudulent scheme.”
23   (Opp’n at 7.) But Apple repeatedly argued during the sanctions proceedings that Samsung’s and
     Quinn Emanuel’s massive breaches of the Protective Order were a form of law-breaking
24   sufficient to trigger the crime-fraud exception, and that the Waiver Documents helped further
     (and documented) those violations. (E.g., Dkt. 2825-2 at 11-12 (Apple arguing that “the
25   violations of the Protective Order are a form of law breaking,” and “communications that
     perpetuate a pattern of violations of the Court’s rules” are within the crime-fraud exception); Dkt.
26   2557-4 at 12-13 (“[T]he crime-fraud exception is implicated here given Samsung’s improper use
     of privilege claims to prevent Apple and the Court from learning how Samsung and its lawyers
27   used (and may yet use) Apple’s highly confidential information violation of this Court’s
     Protective Order”); Dkt. 2505-1 at 7-8 (same).)
28
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 1   have served as cause for the communication.”).)

 2            Samsung’s opposition also relies heavily on the fact that the Waiver Documents each “list

 3   one or more Samsung attorneys as a sender or recipient, and none includes any person other than

 4   (1) Samsung’s attorneys, or (2) Samsung’s employees.” (Opp’n at 8.) As the Court previously

 5   recognized, however: (1) “[t]he fact that a person is a lawyer does not make all communications

 6   with that person privileged” (Dkt. 2689 at 4 n.16 (quoting United States v. Martin, 278 F.3d 988,

 7   999 (9th Cir. 2002)); and (2) Samsung cannot assert a blanket privilege over all communications

 8   between its lawyers and employees, regardless of purpose of the communication or the specific

 9   role of the sender and each individual recipient. (Id. (citing McCaugherty v. Siffermann, 132
10   F.R.D. 234, 238 (N.D. Cal. 1990) (“No privilege can attach to any communication as to which a
11   business purpose would have served as a sufficient cause, i.e., any communication that would
12   have been made because of a business purpose, even if there had been no perceived additional
13   interest in securing legal advice.”).) Rather, as Apple explained in its opening brief, Samsung
14   must demonstrate that each recipient employee was “directly concerned with” or had “primary
15   responsibility for the subject matter of the communication.” (Mot. at 3.) It has failed to do so.
16            Samsung further alleges that its sixteen declarations “‘demonstrate with specificity’ that
17   each of the documents at issue is privileged.” (Opp’n at 9.) But in making that argument,
18   Samsung focuses entirely on Tab 6, and says nothing about the remaining six Waiver Documents
19   (Tabs 19, 20, 215, 222, 255, and 272). (Mot. at 9-10.) Therefore, even Samsung appears to
20   concede that the declarations do not establish privilege over those six withheld documents.3

21            Nor do the declarations establish privilege over the document at Tab 6. As even Samsung

22   concedes, the declarations merely state that the employee-recipients of that document “are

23   responsible for handling aspects of the global Apple litigations.” (Opp’n at 9 (quoting Dkt.

24
     3
25     In fact, the declarations actually support Apple’s position. For example, the declaration of
     Quinn Emanuel attorney Todd Briggs states that Tab 215 was sent to scores of Samsung
26   employees, many of whom are not attorneys. (Dkt. 2807-3 ¶¶ 4-10.) While this distribution was
     allegedly made for the purpose of “providing Samsung with legal advice” (id. ¶ 14), Samsung
27   does not claim that all recipients of Tab 215 had responsibility for this litigation. To the contrary,
     the Court concluded that Tab 215 shows “pervasive distribution of … SBI to Samsung employees
28   who were not authorized to have access to it.” (Dkt. 2689 at 3 (emphasis added).)
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 1   2807-06 (emphasis added)).)        That generic assertion—directed to unspecified “aspects” of

 2   unspecified “global Apple litigations”—does not show that each recipient employee was “directly

 3   concerned with” or had “primary responsibility for the subject matter of the communication”

 4   involved in Tab 6. See Barton v. Zimmer Inc., No. 06-cv-208, 2008 WL 80647, at *4 (N.D. Ind.

 5   Jan. 7, 2008). Indeed, if anything, that assertion appears to show that Samsung was sharing

 6   confidential information that Apple had produced in this litigation, with persons involved in

 7   other litigations, despite a provision in the Protective Order prohibiting it from doing precisely

 8   that. (Dkt. 687 at 5 (“All Protected Material shall be used solely for this case or any related

 9   appellate proceeding, and not for any other purpose whatsoever, including without limitation
10   any other litigation … .” (emphasis added)).)4
11            Accordingly, because Samsung’s privilege log and declarations do not establish privilege

12   over the Waiver Documents, Samsung should be ordered to produce the documents on this

13   ground alone.

14            C.     Samsung Waived Any Privilege By Selectively Disclosing Content From The
                     Waiver Documents.
15
              Apple also detailed in its opening brief how, even if Samsung could manufacture a viable
16
     privilege claim over the Waiver Documents, Samsung has waived any such privilege by making
17
     representations regarding what portions of the documents allegedly say (and do not say), while
18
     concealing the remainder of the withheld documents under the guise of privilege. (Mot. at 4-5.)
19
     Samsung raises several arguments in attempt to avoid its waiver, but none has merit.
20
              First, Samsung attempts to paint Apple as taking inconsistent positions on this issue.
21
     (Opp’n at 10 (alleging that “[w]hen Apple previously challenged Samsung’s privilege claims,
22
     Apple argued that Samsung over-redacted its privilege declarations and inadequately
23
     substantiated the privilege for that reason,” and that “Apple now abandons that position and
24
     argues just the opposite—that Samsung under-redacted its privilege declarations and waived the
25

26   4
       Samsung distinguishes Apple’s two cited cases on the grounds that “neither supports finding
27   waiver where the employees at issue were responsible for handling the litigation being
     discussed.” (Opp’n at 10 (emphasis added).) Apple agrees, but as noted above, Samsung has
28   failed to establish that each employee at issue here had such responsibilities.
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 1   privilege by doing so”).) Samsung misstates Apple’s positions. In an earlier privilege dispute,

 2   Apple argued that Samsung’s publicly-filed (and heavily-redacted) declarations failed to establish

 3   privilege because the declarations only contained denials of what appeared in the referenced

 4   documents (which prevented Apple from even assessing the subject matter of the referenced

 5   documents for purposes of assessing whether Samsung could assert privilege over them). (Dkt.

 6   2825-2 at 5-8.) In later proceedings, and also here, Apple has maintained that those same denials,

 7   though insufficient to show privilege, are sufficient to waive privilege, as multiple courts have

 8   found. See Hawkins v. Stables, 148 F.3d 379, 384 (4th Cir. 1998); United States v. Pinho, No.

 9   02-814, 2003 WL 25772423, at *4 (E.D. Pa. July 8, 2003). As such, there was no inconsistency.
10            Second, Samsung attempts to distinguish Hawkins and Pinho as “merely hold[ing] that
11   there is no privilege where the client denies having discussed a subject with an attorney at all.”
12   (Opp’n at 11.) But in Hawkins, the Fourth Circuit expressly noted that its waiver ruling would
13   apply even if the lawyer and his client had admitted to having an actual discussion on the subject
14   (about a phone tap), given the client’s representation at her deposition and at trial that the two had
15   not discussed the subject. 148 F.3d at 384 n.4 (“Even if Stables could produce sufficient evidence
16   to convince the district court on remand that she and Diehl had a confidential conversation
17   regarding a phone tap, the attorney-client privilege would not apply because her testimony during
18   deposition and trial waived it.”).
19            Similarly, in Pinho, the Third Circuit relied on Hawkins as “persuasive” in finding that
20   “Defendant’s denial of the conversation included enough substantive information about her

21   communications with her attorney to constitute a waiver or her attorney-client privilege on that

22   subject.” Pinho, 2003 WL 25772423, at *4. That is precisely what happened here—by including

23   representations in its declarations selectively denying that the withheld communications covered

24   certain subjects, Samsung waived the right to claim privilege over those communications by

25   placing their content at issue.5

26   5
       Samsung casts Hawkins and Pinho as “criminal cases.” (Opp’n at 11.) But Hawkins was a civil
     case, id., 148 F.3d at 382 (“The current matter is a civil case ….”), and both decisions applied the
27   same evidentiary standard that would apply to the admissibility of allegedly privileged testimony
     in this matter (Fed. R. Evid. 501). Id. at 385; Pinho, 2003 WL 25772423, at *2 n.2.
28
     APPLE INC.’S REPLY IN SUPPORT OF ITS MOTION TO COMPEL
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 1          Samsung relies on Laser Industries v. Reliant Technologies, Inc., 167 F.R.D. 417 (N.D.

 2   Cal. 1996), as support for its sweeping claim that “denials of misconduct … do not support a

 3   finding of waiver by selective disclosure as a matter of law.” (Opp’n at 11.) But unlike here, the

 4   “denials of misconduct” in Laser Industries “d[o] not purport to disclose the contents of a specific

 5   communication,” 167 F.R.D. at 446, and this motion does not involve the type of bare “denial of

 6   misconduct” that was at issue in that case. To the contrary, this case involves documents

 7   reflecting communications that indisputably occurred, the substance of which Samsung has

 8   partially and selectively disclosed. (E.g., Dkt. 2835-03 at 14 (asserting that Tab 6 “does not

 9   reflect any use of confidential information” and Tab 22 “was necessarily not derived from the
10   Teece Report”); id. at 17 n.8 (“Neither [Tab 255] nor its attachments contains any information
11   taken from the Teece report….”).)        As Apple explained in its opening brief, these partial
12   disclosures warrant a finding of waiver. (Mot. at 4-5.)
13          Finally, Samsung attempts to shift blame for its waiver by arguing that “the Court
14   compelled Samsung to file the declarations upon which Apple now relies, which precludes any
15   basis for waiver.” (Opp’n at 12.) As Apple explained in its opening brief, however, the Court did
16   no such thing. The only thing that the Court compelled was the production of documents for in
17   camera review—which Apple agrees did not result in waiver.            The Court did not “order[]
18   [Samsung] to further substantiate its privilege claim,” as Samsung now suggests. (Id.) Instead,
19   the Court merely invited Samsung to file a brief in support of its privilege claims to the extent it
20   wished to do so, and Samsung voluntarily accepted that invitation by filing a brief and sixteen

21   declarations discussing the content of withheld documents. That willing disclosure was not

22   compelled, and therefore resulted in waiver.

23          D.      The Crime-Fraud Exception Applies To The Waiver Documents.
24          As explained in Apple’s opening brief, the crime-fraud exception also bars Samsung from
25   asserting privilege over the Waiver Documents. (Mot. at 5-7.) In its opposition brief, Samsung
26   concedes that the Court ordered in camera review due to “serious enough suggestions that the
27   crime fraud exception would apply to at least a subset of [the withheld] documents” (Opp’n at
28
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 1   12), but argues that the crime-fraud exception cannot apply for three flawed reasons.

 2          First, Samsung alleges that Apple has waived its crime-fraud arguments by failing to raise

 3   them in an affirmative motion appealing the Court’s Sanctions Order. (Opp’n at 13.) Again, as

 4   noted above, Apple had no reason to appeal the Sanctions Order on that ground given that the

 5   Court had found a privilege waiver (on other grounds) for the documents at issue here.

 6   Samsung’s waiver argument also overlooks that Judge Koh has instructed the Court to address

 7   Apple’s crime-fraud arguments on remand “in the first instance.” (Dkt. 3194 at 9-10.)

 8          Second, Samsung argues that the crime-fraud exception cannot apply because the Court

 9   ultimately found “that Quinn Emanuel’s disclosures were inadvertent and that Samsung did not
10   wrongfully use the Apple-Nokia licensing information.” (Opp’n at 13.) That argument fails as a
11   matter of law given that there is no intent requirement to prove a violation of the Protective
12   Order, as the Court observed in its Sanctions Order. (Dkt. 2935 at 7-8.) Moreover, courts have
13   made clear that where, as here, the communications themselves demonstrate that the client was
14   “engaged in” criminal or fraudulent activities, no further showing of intent is necessary for the
15   crime-fraud exception to apply. See In re Icenhower, 755 F.3d 1130, 1141 (9th Cir. 2014) (“The
16   crime-fraud exception to attorney-client privilege applies when the client was engaged in or
17   planning a criminal or fraudulent scheme when it sought the advice of counsel to further the
18   scheme, and where the attorney-client communications for which production is sought are
19   ‘sufficiently related to and were made ‘in furtherance of [the] intended, or present, continuing
20   illegality.” (internal quotation marks omitted and emphasis added).)

21          As detailed in Apple’s opening brief, Samsung’s “inadvertence” and “no improper use”

22   arguments also fail as a matter of fact in light of the Court’s findings (which Samsung did not

23   appeal): (1) that Samsung and Quinn Emanuel violated the Protective Order hundreds of times

24   due to a “predictable,” “conscious,” strategic,” and “blameworthy” result of a “willful failure to

25   institute safeguards”; and (2) that Samsung improperly made use of the licensing information that

26   Apple had produced under the Protective Order. (Mot. at 5-7; Dkt. 2935 at 4-6 (concluding that

27   “the evidence has shown … that [Samsung’s in-house lawyer, Mr. Shim] made use of the

28   information”); id. at 14 (“[T]he court does not find Shim’s explanation that he never used the
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 1   insufficiently redacted Teece Report credible.”).)

 2          Third, Samsung argues that none of the Waiver Documents “was ‘in furtherance of’’any

 3   crime or fraud.” (Opp’n at 14.) But as the Court found in its Sanctions Order, the Waiver

 4   Documents are themselves evidence of numerous breaches. (E.g., Dkt. 2689 at 3 n.10 (citing

 5   Tabs 215 and 255 as evidence of “QE’s failure to fully redact sensitive business information

 6   (‘SBI’) from the Initial Expert Report of David Teece” and “pervasive distribution of the SBI to

 7   Samsung employees who were not authorized to have access to it”); id. at 3 n.15 (citing Tabs 19,

 8   20, and 272 as evidence of “QE’s failure to follow the procedures set forth in Section 16 of the

 9   Protective Order after repeated notice of the disclosure of SBI”); Dkt. 2935 at 5 n.22 (citing Tab
10   19 as evidence that insufficiently redacted Teece Report was improperly distributed); id. at 5 n.28
11   (same); id. at 6 n.32 (citing Tab 272 as evidence of Quinn Emanuel’s failure to give notice of the
12   violations).
13          The Waiver Documents are therefore not privileged under the crime-fraud exception. See
14   Positive Software Solutions, Inc. v. New Century Mortgage Corp., 337 F. Supp. 2d 862 (N.D.
15   Tex. 2004), rev’d on reh’g en banc, 476 F.3d 278 (5th Cir. 2007) (en banc) (violations of a
16   protective order are within the scope of the crime-fraud exception).6
17          E.      Samsung Cannot Seek To Vacate The Sanctions Order Based On Its New
                    Privilege Argument, Which Is Waived And Lacks Merit.
18
            Samsung contends that the Court must vacate the Sanctions Order in its entirety “because
19
     it impermissibly relied on privileged communications.” (Opp’n at 5.) That argument should be
20
     rejected for four reasons.
21
            First, Samsung waived that new argument by failing to raise it previously. Samsung did
22
     not file a motion asking Judge Grewal to reconsider any aspect of his Sanctions Order. In its
23

24
     6
       In a footnote, Samsung incorrectly argues that Positive Software involved a crime-fraud finding
25   based on false representations, and not on a protective order violation. (Opp’n at 13 n.8) In that
     case, the court found during the litigation that a party had violated the protective order, and held
26   that those violations resulted in waiver under the crime-fraud exception. Positive Software, 337
     F. Supp. 2d at 868. False representations had nothing to do with that holding; indeed, it was not
27   until the court subsequently ordered additional discovery regarding that improper use that it even
     realized the extent to which the defendants representations were false. Id.
28
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 1   motion seeking relief from the Sanctions Order, Samsung did not contest the finding of sanctions,

 2   and instead raised a single issue for Judge Koh to review: whether it had waived privilege over

 3   certain documents by offering to produce them. (Dkt. 3135 at 5 (“Samsung respectfully requests

 4   that the Court overturn the finding of waiver stated in footnote 13 of the Order.”).) And in its

 5   motion seeking relief from the Court’s sanctions award Order (in which it unsuccessfully sought

 6   to reduce the amount of the sanctions award), Samsung expressly conceded that “Judge Grewal’s

 7   underlying sanctions order was properly narrow.” (Dkt. 3134 at 1 (emphasis added).)

 8          Having failed to object previously to the Sanctions Order based on an argument that the

 9   Order “impermissibly” relied on privileged information—or on any other ground—Samsung is
10   procedurally barred from taking that position for the first time here. See Earthquake Sound Corp.
11   v. Bumper Indus., 352 F.3d 1210, 1219 (9th Cir. 2003); Brittain v. Sherriff of Riverside Cnty., No.
12   CV05-1075-R, 2011 WL 6149287, at *1 (C.D. Cal. Dec. 9, 2011).
13          Second, for the reasons set forth above and in Apple’s opening brief, Samsung has failed
14   to establish a valid privilege claim over any of the seven documents at issue in this motion. As
15   such, Samsung cannot claim that the Court “impermissibly relied on privileged communications”
16   with respect to those documents.
17          Third, Samsung’s new argument rests on the premise that the Court’s decision to impose
18   sanctions depended entirely on information derived from privileged sources. In its Sanctions
19   Order, however, the Court repeatedly relied on portions of eighteen other documents that it
20   expressly held were not privileged. (Dkt. 2934 at 4 n.13 (“As to all other documents cited, the

21   court finds that the portions discussed in this order are not privileged.”).) Because Samsung

22   never contested that finding, it cannot contend here that the Sanctions Order relies entirely on

23   information derived from privileged sources.

24          Finally, even if Samsung could erase its waiver, overcome its inability to establish

25   privilege, and expunge the numerous non-privileged sources underlying the Sanctions Order, it

26   still has failed to cite a single case holding that a court cannot properly rely (in whole or in part)

27   on information learned during in camera review. By contrast, numerous courts have relied on

28   information learned through in camera review, even where the underlying documents were
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 1   properly withheld as privileged. See, e.g., Church of Scientology of California v. U.S. Dep’t of

 2   Army, 611 F.2d 738, 743 (9th Cir. 1979) (“[W]e find that the trial court properly undertook an in

 3   camera inspection of the disputed documents, and therefore had an adequate factual basis for its

 4   decision.”); Pollard v. F.B.I., 705 F.2d 1151, 1155 (9th Cir. 1983) (“Our review of the record,

 5   including the documents in issue and the in camera affidavit, convinces us that the district court

 6   had an adequate factual basis upon which to make its decision.”); PersonalWeb Techs., LLC v.

 7   Google Inc., 2014 WL 4090558, at *4 (N.D. Cal. Aug. 19, 2014) (awarding monetary sanctions

 8   based on materials submitted for in camera review); Fresh v. Greene Transp., No. C-11-06683

 9   DMF, 2013 WL 5754395, at *9 (N.D. Cal. Oct. 23, 2013) (awarding breach of contract damages
10   and fees based, in part, on in camera inspection of privileged invoices); Facebook, Inc. v. Power
11   Ventures, Inc., No. 08-CV-570-LHK, 2013 WL 4049688, at *4 (N.D. Cal. Aug. 7, 2013)
12   (awarding fees and costs based on in camera submission of privileged records); Loretz v. Regal
13   Stone, Ltd., 756 F. Supp. 2d 1203, 1218 (N.D. Cal. 2010) (awarding fees and costs using time
14   records submitted for in camera review); Keithley v. Homestore.com, Inc., 2009 WL 816429, at
15   *2 (N.D. Cal. Mar. 27, 2009) (awarding fees and costs based upon in camera submission of
16   supporting documents).
17          Samsung cites Mohawk Industries v. Carpenter, 558 U.S. 100 (2009), in support of its
18   claim that “it is axiomatic that a judicial decision may not rest on privileged material. (Opp’n at
19   5.) But in that case, the Supreme Court merely held that: (1) disclosure orders adverse to the
20   attorney-client privilege do not qualify for immediate appeal under the collateral order doctrine;

21   and (2) “Appellate courts can remedy the improper disclosure of privileged material in the same

22   way they remedy a host of other erroneous evidentiary rulings: by vacating an adverse judgment

23   and remanding for a new trial in which the protected material and its fruits are excluded from

24   evidence.” Id. at 109. Samsung cannot convert that general statement about how courts can

25   remedy the “improper disclosure” of privileged communications at trial into a sweeping rule that

26   no court decision can ever rely on any privilege communications for any purpose.

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     APPLE INC.’S REPLY IN SUPPORT OF ITS MOTION TO COMPEL
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 1   III.   CONCLUSION
 2          For the foregoing reasons and those set forth in its opening brief, Apple respectfully

 3   requests that the Court order Samsung to produce the Waiver Documents.

 4   Dated: November 19, 2014                       WILMER CUTLER PICKERING
                                                    HALE AND DORR LLP
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 6
                                                    By: /s/ Mark D. Selwyn
 7                                                         MARK D. SELWYN
 8                                                           Attorneys for Plaintiff
                                                             APPLE INC.
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     APPLE INC.’S REPLY IN SUPPORT OF ITS MOTION TO COMPEL
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 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that a true and correct copy of the above and foregoing document has been

 3   served on November 19, 2014 to all counsel of record who are deemed to have consented to

 4   electronic service via the Court’s ECF system per Civil Local Rule 5-1.

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                                                    /s/ Mark D. Selwyn
 6                                                  Mark D. Selwyn
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